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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DANIEL KARON, individually and on     )
behalf of all others similarly situated,
                                      )
                                      )
                                      )
      v.                              )                      Case No.18-cv-2658-CAB
                                      )
PALMER ADMINISTRATIVE SERVICES, INC., )
ET AL.,                               )
                                      )
      Defendants.                     )


            MOTION TO APPEAR PRO HAC VICE FOR MITCHELL N. ROTH

       In accordance with Local Rule 83.5(h), the undersigned respectfully moves for the

admission pro hac vice of Mitchell N. Roth of the law firm of Roth Jackson Gibbons Condlin,

PLC, located at 8200 Greensboro Drive, Suite 820, McLean, Virginia 22102, (703) 485-3536,

for purposes of appearance as co-counsel on behalf of Palmer Administrative Services, Inc. in

the above-styled case only, and in support thereof states as follows:

       1.      Mitchell N. Roth is not admitted to practice in the Northern District of Ohio and

is a member in good standing of the Bar of the Commonwealth of Virginia, and, as reflected in

his accompanying affidavit, is admitted to practice in, and is in good standing to practice in, the

Supreme Court of Virginia.

       2.      Movant, Benjamin D. Carnahan, Esquire, of the law firm of Dinn Hochman and

Potter, LLC. located at 5910 Landerbrook Drive, Suite 200, Cleveland, Ohio 44124, (440) 544-

1135, is a member in good standing of The Ohio Bar and the United States District Court for the

Northern District of Ohio and is authorized to file through the Court’s electronic filing system.
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       3.      In accordance with the local rules of this Court, Mitchell N. Roth has made

payment of this Court’s $120 admission fee. An affidavit in accordance with Rule 83.5(h) is

attached hereto.

       WHEREFORE, Benjamin D. Carnahan, moves this Court to enter an Order authorizing

Mitchell N. Roth to appear before this Court on behalf of Palmer Administrative Services, Inc.

for all purposes relating to the proceedings in the above-styled matter.



Date: February 8, 2019                Respectfully submitted,



                                       /s/ Benjamin D. Carnahan
                                      Benjamin D. Carnahan (0079737)
                                      bcarnahan@dhplaw.com
                                      Dinn Hochman and Potter, LLC
                                      5910 Landerbrook Drive, Suite 200
                                      Cleveland, Ohio 44124
                                      T: (440) 544-1135
                                      F: (440) 446-1240
                                      Attorneys for Palmer Administrative Services, Inc.




                                 CERTIFICATE OF SERVICE
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       I hereby certify that on this 8th day of February 2019, a copy of the foregoing document
was served via Electronic Court Filing (ECF), upon:

Katrina Carroll, Esq.
111 W. Washington Street
Suite 1240
Chicago, IL 60602

And

Adam Savett, Esq.
2764 Carole Lane
Allentown, PA 18104
Counsel for Plaintiff


                                                  DINN HOCHMAN & POTTER, LLC:

                                                  /s/ Benjamin D. Carnahan
                                                  BENJAMIN D. CARNAHAN (0079737)
                                                  Attorneys for Defendant
                                                  Palmer Administrative Services, Inc.
